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 ~'. Q~. ~o~.861
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   ~'I`~1~~'~i~ ~'.A.~~~~C~~I, SUPERIQR ~+C~}URT QF NEW JERSEY'
                                    LAW DI'~ISIOl~
                                   MERCER CO~[~NTY

       ~.                              Civil Action N~;~~ -     ~-- ~_ _.~.~

 NN~~ J~R.SEY T~~~'A~TM~NT                           COMPLAINfi
 ~JE~ ~(~~~EGT~~I'~TTS, ~`~`ATE
 ~J~ r~~~ JE~~~~, R.~C..r`T`G~RS
 ~UI~TI~T.~,~~~T~ C~~R. ~E~.LTH GARS,

 ~~.. ~i~`VtT.~C~U~:~,1'U, P'~OVIDER
 '~ ~~. JA~I~SC~I'~, I~RC~V~IDER
 JD~r ~~~:1~,/IA~~.Lf~~~, NUP~~~
  ~'~"~I"~`~~N~, J~~~1 A.ND JANE
  ~3(JE(~} 1 T'O 5,`T`E:I~ENGE COLLIER,
      d ~II`~D~A~' ~~TTO I~TI~


                             S'I'A,TEM~NT 4~F GLAIM


        ~la~.nia.ff, h.~nneth Pagliaroli,(#OQQ391490A/555277) residing at New

  Jersey S~.te~F~~iso~~, 3~d and Federal Street, F. Q. Box 861, Trenton, New Jersey

 08625, cam_plainir~g of the defendants says that:
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       1. ~'lai~.tif~ ~ennet~~ Pag~iaroli is an inmate curren~l.~T inca.rc~rated at New

 Jersey Sate Przsoz~, 3r~ and Federal Street, P. O. Bay 8~1, Trenton, Ne u Jersey

 ~}~~25. Hjs assigned inma~e number is ~0~~391490A/555277.

       2. Defendant, Stake ~f I~ew Jersey is the o~Tner and apera~or of the New

 Jersey Sate P~zso~.. Principle address is; State Huse, 125 ~~T. State Strut, P.

 C}. ~a~ (~O l,Trenton, New Jez~sey 08625,.

       3. l7ef~ndan~ Neer Jersey Department of Corrections is.a s~a~e a~enc~r

 ~~erated by the Mate of ~?evcT ,Jersey. F'r ncipie address is: W~hi~~lesey Road,

 ~ .a. Box ~~3, Trenton, Nevi Jersey Q8625-0863.
 '

       4. Defendant Unive~si~y Correctional Health Gave, Rutgers, fihe State

 U~iversit~ of l~re~cv Jersey, Lales Building, 2n~ Floor, ~Thittlesey Road, P. O. Box

 8C~3,'~~'~enton, New Jersey 08625-0863.

        S. ~efe~.zdant Dr. Nwachuc~~c~u is medical doctor at the Ne~~ Jersey State

 ?rison, 3rd and. Federal S~.ree~, P. O. Bay 861, Tren~an, I~Tew Jersey ~S~i25.

        ~. ~efezzdarat I+dls. JaGksan is a medzca.l provider at the Nevv Jersey S-ta.te

  ~'rzson, 3r~ anc~ Federal Street, P. ~J. Box 861, Trenton, New Jersey QS~a25.

        7. ~~ efendant ~Jo~ Camarllio as a medical pra~Tider at the Ne~~T Jersey

  Mate Prism, 3rd a~~d Fed~ra.1 ~~ree~, P. (~. Box 8d 1, Trenton, New Hersey 08625.

        8. ~~fenaant Nurse Fe~~erni is a medical pravid~r at the Skew Jersey

  ~~at~ ~'rison, 3r~ and ~`ederal Street, P. C~. fax 861, Trenton, Nevv Jersey C78~25.

        ~. D~fer~.c~ants Joh~z a..~.d Jane Doe'(s} are medical provider's or nurses a~

  t~?~ Ne~~ Jerse~r State Prison, 3~d and Federal Street, P. (J. Box 8C~1, Trezzton,

  1V~w ~JersEy Q8625.
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      l~. DEfen~.an.t Terence Collier is a medical provider at the Ne~~ Jersey

 S~.ate Prison, 3rd and ~edera.J. ~tree~, P. O. Box 8~1, firenton, New Jersey a8~25.

      11, ~~fenaa.z~~ Lindsay I~e~~orini~ zs a medical provider a~ the New Jersey

 State ~'rison, 3x~ a~zd Federal Street, P. O. Box 8~1, Trenton, New Jersey 0825.

      l~.    Plaint?ff Kenneth Pagliaroli ad~Tances three counts.

      13.    Count (.3n.e is a claim concerning a left shoulder injury.

      14.    Cotiznt Twa is a claim concerning the denial and refusal of medical

 trea~tmen~.

       15. +G~unt Three is a ciaiin. concerning an attempt by the medical

  department to I~~de me~ica.I information of renal kidney disease.

       1 C~, ~tatem~ent of Faet~ in support of claims are attached herein.

       17. fir_ ~ri~w ai the d~tai.led a.ilegations in the Sta.temen~ of Facts i.n

  suppoLt of the claims the Plaintiff is entitled to relief as a ma~fi~r of la~~.

       18. ~lainti~f suffers on a daily basis as a direct result of the conduct

  outlined ~n the St~.temen~ of ~'ucts i.n support of the Claims.
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  ~`T'~,~~~~~'~p,~" ~]E' ~A.~'T ~~' SU~"P~JR'T t~~' LEFfi S~tJU'L~ER,'~`~-T:~
       ~ '~~i~. ~~iflD~ ~ ~"'U~.AL t~R IiIIEDICAL TR~A'~'~1t~ENT AI~TI3
      ~~'~'~~It~1P`~ `~tf~ I~3I~~~ It,~EDICAL IN'F'C}~,.MAT'IC}~T f3F RENAL
                                  ~~~►~~Y ~I~~.~.~~


 I have been complyin~g:~"--o~ pain in my left snouider starting back
 in 206 when I seen providers about my chronic care every three
 iit^vil.t.i]5   c~I:2.'~.   iii.?~"...~11I2C~.' ~t   ~~,.1~   ~'c~. ~ ~G-'iXla ~~^~ii~   c~bOt.~~C 1Tiy C~ri'iNr~..a.T'i~.S.
 I put in a NR-047 medical request. .~ar medical care anci. .I seen
 provider J'oy Camarillo, on 3/31./17 she ordered same X-Rays on my
 lef~ shoul~.er f then seventeen days lamer on 4/17/2017 I was
 s een again by provider Joy Camarillo, abut my shoulder. She told
 me ~~s~orlly a litLl~ bit of artr~r~~is and there is nothing that
 can be dome about it at alll, Ghat i j~roulct have to learn now to
 live with i~..
 I told provider Joy Camarillo that I don't chink this is
 arthri~.is, because of the way it's acting, with the ~os~ of power
 i~n my hole laf ~. arm and the pain ? s reall~r intence, like some one
 is cu~ting me wish a sharp kinze, prying to cut my arm off righi
 around m~ hole l~e=~. shoulder and zhe pain runs down my legit arri
 all the war ~o my finger's then up to the le=t side o.~ my neck.
 There are people in my fam~.ly ~ha~ have arthri~.is and they have
 camplaned ~.o me many times about row it feels with there
 ar~.hri~.is and this a.s no~.h.in,g like they told m~ .         I
 told provider Camarillo there is some~ching else wrong with my
 shoulder ca~her then arthritis.
 I ordered my medical records ~o see whit was going on wi~.h my
 left shoulder along with my overall heath, because I fel~. ghat I
 have been lied. to abau~ my shoulder s and ocher things.
 I received them on August 9,217 Joy Camarillo,s repor~. read,
 leis shoulder has Mild degenerative changes of the le.~t shoulder
 without acute fracture ar dis~.aca~ion.
 My shoulder ~ep~. hu.r-~irag m~ aid was ge-~tzng worse in a short
 amount o.~ time a=~.er I .seen Joy Camarillo .                   ~It
 only keno ge~~.ing worse and worse ~.o the poin~ that I really
 t aught I would go insane ~~am Gh~ pain, as the medical direc~.or
 Doctor Nwach.ukwu, Kept dawn sizing my medication dt the worse
 possible ~.ime prom Tylenl #4's ~.hree Mmes, then .down to Tylenol
  # 3' ~ one o~ teem two Mmes a day, when she; had Mme an a low dose
  caf mobic and a muscle rub zar ~h~ pain and refused to give me
  anything that could help me ~Jith pain.
 The pain med~? cation I was on was for my bac}~ and nick injury' s
  not my shouldzr, I told groviderS that this is she worse time to
  -cake me of~ pain medications, that T need a increase o~
  medica~cion wish this new paten ~h~t I am in is overruling all
  other pain right now and~the m~dicazion is nog. touching this fain
  at all.


                                                                                                                                l
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 Icy left shoulder stared acing up so bad that I could not lift
 my arm past my wasted and I now started to lose sleep and keeping
 my cell mate up all night with me crying out in my sleep in
 intense pain, i= ~" moved the wrong way in my sleep.
  I woulei not sleep for days on end tiaith this bind of insane pain!
  I tried to talk to Dr. Nwachukwu telling her zhi~ is she worse
  time ~o cut me down from any pain medications with the way my.
  shoulder.hu~ts me that-I really need a increase in medication
  nod a decrease in pain medication.
  birect~or Dr. Nwachukwu, told me I have ~o brin                      ou oft of all
 ,~_ a.c~z.cis , 3.~ • s i~~cau~~ s~~" ~1~i~ ~ - ~.~~. i.~isis a:n ~h~ sc~ecr~~ Lha~ i
  have to take every ane off o:E all Opioids.                             I told her
               e opioid crisis is for zhe people that's -doing Opoioid's
  illegally, ~and for the opoioid's coming from China, and over the
  border from Mexico, illegally, I watch the nzws every night and
  itis not for same one that has a legitimate- reason anci real
  injury to help them cc~ntrQl pain. __ .
  That is iI~.ec~al under Statef~ede~aZ laws tca let some one- s~zf der
 in ~~a~. pain ~ai~h caul helping ~~~m control that fain
  Just because there is a opioid crisis on the s~.reets don't mean
  that you have to cup. people o=f ~.herp medicatior_s in p?"150ri~
  it's something you your self want to do for what ever reason you
  want to do this.
  Director Dr. Nwac'hu}~tau, said no that's not true the state is
  making us do it, I have no control over this at all",
  I stated to her aver that. it is cruel and unusual punishment for
  a Director and Doctor ~a ~tar~. Gutting ~eaple ofd pain
  medicationa at a time that T really need these medications to
  help them with pain control, and when they need a emergency
  operation to stop there pain, you need to send me out ~o the
  hospital to have my shoulder checl~ed cup. now, and. lit m~ see a
  spzcialist for my shoulder now I need a emergency op:-?Y'r~t10I1. I
  Baas ~.Qld I was on the list to see a specialist for my. neck and
  }crack injury's and I have been waiting months fo?~ that with no
  luck, and in a lot of pain with them injury's.
  not. to count what was going on ~ai~.h my left ~hc~ulder ncaw ~ha~
   overruled any other pain that I was in, and the foaz dragon kept
   going on ar_d -the pain kept intensifying to the pointi .hat I
  could. not even lift my left. arm up at. all.
   They kept dragged there ~~e~ ~o.get me out to see the specialist
  for the be~zer part oT a year and to have my shoulder operated
   on to relieve the pain, and wii~h no hope az all for the doctor to
   help me aut of pain.                                                      .
   I sufrered for oser six months or                 logger  before I ~had my shoulder
   operation to relieve that pain nog. to count what I c-gas going
   tough ~ai~.h my back and neck fain.
   tahat I don't 'understand ~~as she reason the aoc~or refused to help
   me with the pain, when you have the nurses church up all Opioids
   and mix it with water ~ and ~-aa~.ch you take it, and e~ren make you
   open your mouth to see if it t~rent down, no one can get these
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 Cpioids but the person raking them, }~ecause it is monitored and
 controlled so only you get the medication. I kept putting in
 medical I~iR-007 slips to see the doctor for my left shoulder, but
 got no where at all as if the doctor did nat want to see me and
 she would only let her providers see me.
 It now got where I could not even lift my left arm up at all and
 T put in another NR-007 to see D.. Nwachukwu, to help me Faith my
 pain that was keeping me up all nigh long for days on end,
 rocking my self side to side and even crying my self to. sleep at
 ~.imes, I even passing out from the pain ~i~ne to time because it
 caas that in~.ense.
 This time when I put in the NR-a07 and got to see the doctor on
 5/17/17 my arm was locked to where I could not even lift it up at
 all, they call i~ a frozen shoulder and the pain is out az this
  world.
 Nurse Pettorini seen what kind condition i was in and the kind of
  pain I was in, she told me the doctor has to see you now and went
  righ~ into doctor Nwachukwu office.
  U~hen she came back with the doctor Provider Jackson came back
  ~Jith her also.
  Doctor Nwachukwu said she was going to give me a shot of a non-
  narcotic shot of "TORADOL" for the pain.                      Provider
  Jackson told Dr. Nwachukwu, that she canit give me a shot of
 "~OR.ADQL" because of my kidneys!
  r said there i.s nothing wrong with mkt ki.drieys?                DR.
  Nwachukwu went on the computer and -looked up my last name and
  said there is nothing wrong with his ka.dney's dive him a 6Qmg
  shot of "T~RADOL rr
  L~rovider Jackson seemed to et reaZl u set and stormed out of
  the treatment room.
   I started to think about what Jackson said about my kidneys, but
   with the doctor going on the computer to. see what was Going on
   wish my kidneys, made me feel That provider Jackson did not know
   what she was talking about.                                 Seeing
   there aze two people  hear with  m~  last  name, may be the  doctor
   got confused with Dave Pagliaroli,     when  she looked on the
   computer under my lash. name.
   As soon as I got the shoot ii started tQ vaark to help me with the
   pain trot I was.
   The doctor told me that .I can only have a shoot o~ this "zOR~D~L" ~
   every ten days.
   On 5/22/17 I seen provider James Brewin, who went tough my
   medications that I have been can nor chronic pain, not only for my
   back and neck injures and not my lefi shoulder pain.                  -
   ~ahen I told provider Brewin  what  I ~~as going tough with my  left
   shoulder provider James Brewin made recommendation that I should
   see and be managed by a pain specialist.
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 They assigned provider Jackson as a.pain specialist to manage my
 pain, I don't think provider Jackson is qualified as a pain
 specialist, in a separate lawsuit against doctor Nwachukwu,
 provider Jackson, and o~.her's I pried to have provider Jackson
 severed with court papers but I had no luck. I had Dr. Ahsan, and
 Dr. NWc~.ChUk.WU r served but was told that provider jackson dose not
 work hear.
 I had m~ brother go on line to ~.he nurses.regis~er to try to
 f~.ned a address on Jackson so S can have her severed by the
 sheriff, that sent back Jacl~sans paper work paying ~.ha~ the
 prison said that ~ack~on cion~t work hear..
 UThat I don't understand is I see Provider Jackson every time I
 go to medical:
 Ny brother told rme ghat he can't find provider Jackson r~gi~tered
 as a nurse and~she can"~ be found in ~che medical field aL all on
 line under the name o~ Inaish Jackson.
 This made me think hovJ could she ~e in control of pain managem~n~
 and take the place of a pain specialist if she is not e~Ten on the
 nurses roster on line or in any records in ~.he medical wield on~
 line,
 On 5f26/17 I was an the medical travel loq to gc~ to medical, I
 i~augh~. it Baas far my shot of Toradol, I could not ~aate ~a get the
 shot becouse the last ape lastEd me about six dayds brfflr all ~h~
 pain came back attacki~.g.me ~.en fold and I have not slept in day
 because of the pain I was in.
 Nurse Pe~torini told me to go ~a the pill window ~o receive she
 pain shot, when I asked the nurse them for the shot s~~e tald me
 m~ name way not on the lisp.                                I ~.a~a her
 than Dr. Nwachukwu, said I can have a shot every ten .days; she
  told me I need to ~al}~ to the doctor about that.
  I wens back to see nurse Pe~~.orini, sa~ she could let m~ see Dr.
 l~Iwachukwu abou~. getting the sho;~ that she said I could have every
  ten days.
  Nurse Pe~.~.orini seemed to had changed her hole demeanor, and had
  changed into something that I never seen her act like this be~ore
  with the ~l~ray she zti~as acting when I asked ~.o see the doctor, she
  just flipped opt on me like something had changed her in she
  little time T went to ~.he pill window and back something happen

 Nurse Pet~orini told me I uTould have to leave medical and pug. in
 a I~iR-007 ~.c~ come back to see she doc~or I was ~.n shock ~nd~ did
 not kna~s how to~ even answer her back kna~ring that she knet~~ what I
 have been going tough with my shoulder.
 You cans get pest nurse Pe~torini to see any one, because she is
 Lhe ga-~e keeper ~.o see the doctor or a provider.
 I don't. think s;ne reali2ed ~ha~ it eras a three day weekend coming
 up for Memorial Darr, and it was Friday, May 26, 2017 and T could.
 pat see any Qne for pain gill I~Ianday, ar even Tuesday. I 'told
 nurse Pet~.orini that I can'~. ev~:n move ray lefi arm at all and I
 have pat been to sleep :in days jaiih this kind of pain, and I
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  can't wain. any longer, it's just way to much to ~be in this }rind
  of pain.                                                   .
  Nurse Pettorini said T don't care you have to go right now! I
  said if I was on the streets righ-~ now and went ~.o any hospi~cal I
  would be adr~i~..ted to that hospital and I would have a emergency
  operation far this same kind of pain.
  I ha~re been going tough this kind of pain ~:or months nova with no
  real help to get~me out of pain, till that shot of toradol, and
  now your telling me I have ~.o go with out any trea~ment to help
  me with this pain!
  n __    wt__        r_~.L            ~       't   t        T   1__                   L-              1_                t     iL~i
   ' U~
  ~r.5    lV U.L S~   ~'~ 1, 1. V :.0 1111 . ~.C}1C.1 ttl~   1 i ld(.l   1. U   t~ V   1.1 ct C.; }i   t» V   Tl~! l.1111 1,   1.il ci 1,
  there is nothing that she ~an.do for me.
  I .old her you can't just tell me to go in this kind of
  condition, I need real.medical treatment, and I need to see the
  dcc~.or now not next week, after the three day weekend.
  W~ went on end on with this till officers Jhon D~~ standing
  ~he_re .old me I need tQ leave right nowt
  I still refused ~o go and told nurse Pett,orini .this i.s against
  she law and the rules o~ ~~~~e/~'~~~ral ~:at~s fro deny and ~c~r~~ ~a~dicai
  Treatment when a person is incarcerated and in my condi~.ion.
  was so upset ghat Z Baas being turned away and I did not
  un~.erstand the reason nor this kind o~ actican, from nurse
  ~ettorini, ~~ho ~~~as all ways nice to me and. e~,rery one else that
  she seen, It was way out of place far her actions, and ?" told
  her under ~      ,~ I refuse to go any place till get to see the
               Laws;
  doctor and I ~ recei~re medical a~~.en~iQn. I could see that nurse
  aettorini, was rally up set, and she told me i~ you don't like
  it Shen write it up! I did not. unders~.and nursE Pet~~rini, and
  this went on for some time with me fighting for m~1 medical r-~ ghi.s
  ~.o reeei~re medical a~cten~.ican, T told the nurse ~. beiang in a
  hospital right now getting an operation to relieve phis pain.
  Officer Jhon Dae jumped back ~n and said your going k~~.ck to ~rour
  unit right notiT or else! and I mean it phis ~.ime go back to your
  unit now!
  I sure did nod. want to ao to 7-wing lock-up in mfr cc~nai~ ion and
  really gee lost in the system ~~here I may not get and chance to
  fight for any kind of medico? care at all, with mfr ]rind of pain
   and desperation ~ha~t I was in ~ o gel med?cal. at~:en~..~on to help me
   with the pain,
   I asked o~~icer Brown tiahen 1 aot hack to me unit if he could
   ca_rite me out a emergency pass far medical treatment, swing she
   caan~ed me to have a pass ~o come back ~o medical.
   This emergence pass will insure that I get the medical trea~.ment
  -ghat I need with our: any kind of delays car .any re~u~als ~ of any
   ~.reatment this time.
   Officer Brown has seen what T have been going tough with my
   shoulder right from the ti=pry s~ar~, because we talk aUout medical
   and all the bad things ~2~a~'s happen to me over the years of
   fighting to even get medical treatment.
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  then I got back ~.o medical with tears in my eyes from the pain I
   ~~as in,. nurse Petiorini seen me back there and she flipped out
   seeing me with the emergence pass that I was holding in my hand.
   She ran into provider Jacksans office the door was lef~ open and
   Z heard provider Jzckson tell nurse Pettorini~ .hat she don't
    want any thing to do with this, that she told             DR.
   l.~w•achukwu, ghat K: Pagliaroli has a kidney disease and cant have
    a shot of toradol, including mabic, motrin and any other
    inflammatory medications that can harm his kidneys.
    With that nurse Pez~orini walked out of. provider Jacksons office
    looking confused, and wens. into Dr. ?~lwachukwus o~fice with ~.he
    door closed.
    G~1hen she came out she snatched my emergency pass out of my hand
    and said~the doctor she don't want to see you! and na providers
    wants t.o see~yau ether.
    You need to go back ~o your unit, I told her I have to write all
     phis up, you the~do~tor' and providers can't leave any one in this
    .kind of condi~.ion it's against the law!
    I could. not fight with her any more far lack of sleep and the
     kind of pain I was iii, I left and went bacl~ to m~ cell and cried
     with the kind of pain I was in till I passed out from the pain.
  [nThen I woke up I kept my cell mate up all night long crying out'
    in my sleep or when I was not sleeping in pain.,
     This went on for months day and night, I would laid in my bed
     rocking in pain ail the officers knew what I was going tough, and
     let me sho~~Ter by my self so no one would bump in ~.o me.
     I was also on a.medical lay-in and received~al~ my good in my
     cell do ~.o my condition.
     That's the only help .hat I received from medical zf~as a medical
     lay-in and mobic along wish muscle-rub nor the pain.
     Alter I heard provider Jackson say I can't have mobic or any
     motrin~because of Renal Kidney Disease, they cut me off of the
     mobic and left me with nothing buy. the muscle rub nor this kind
     of p~.in when I should - had been ~ n the hospital. .
     l put in for my medical Y'Ecords to see what is going on with my
     kidneys, it took me three months to gee. my records.         Z found
     out that Dr. Nwachuk~~ju knew about my kidneys 16 man~hs or longer
     before I got my medical records and found ou.W i had this kidney
     disease.
     There was a letter from Neurology telling DR. Nwachukwu ~o keep
     an eye on my kidneys and that I will need a I~iRI Avery 3 mon~.hs
     for the first dear to start with to see what's going on with my
      kidneys.
-. I don't under stand the reason- Dr .- Nt~achukwu ignored any        ~                _-
      recom~~nendations about m~ kidneys, and never told me ariy thing
      about my health at all, not any of the provider would tell~me any
      thing about my kidneys, when other providers knew abou~ my
      kidney's, and every or_e knew but me !
Case 3:19-cv-21505-FLW-RLS Document 6-3Pg Filed 01/02/20 Page 11 of 25 PageID: 80
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 At this point I feel that Nurse Pettorini was in the middle of
 phis and was only fol"lowing orders from Dr. Nwachukwu. I never
 seen her act this way.
 Ether she is also guilty of refusal of medical treatment or she
 is a witness to this kind of treatment, this could only be
 something for a jury and the court to figure out when i~ comes up
 to trial.             '
 There vaere    other medical   recommendations made for a pain
 management specialist that I never seen.
 On 6/8/l7 I seen Provide Terence Collier, who was really rude
 anti disrespectful ~.o me fv~ i~v r~asor~ at all.
 I told him j-shat I taas going tough with the pain.
 I also asked Provider Collier for a medical pass just in case
 one of the officer's in the rotunda wanted to frisk me and wanted
 me to lift my arms I could show him the pass and If I was going
 out to the hospital on the streets than 1 don't get cuffed }~ehirid
 my back with my injury. Provider Collier told me N~! ask the
  Specialist when you go out to put you in for that pass, because I
  am not writing out any passes for you.
  Just days later I was on my way to medical and was pulled over
  and frisk, Z told him the ofzicer that I can't lift my left arm
  up, when he told me to put arms up.
  He tried to force my arm up pint~.ing me in a lot of pain !
  if had that pass I asked provider Collier for this o~ficer would
  not had hurt me, because I could had told him I have a pass and
  gave it to him.
  This made my shoulder even worse, Z could not even lift it up at
  all and the pain was in my zingers now from that.                    Provider
  Collier    also  knew  about my  kidney's  and  held  than  information
  from me, when he had a letter telling him about my kidneys.
  I put in a MR-007 on ar about 5/26/1? to see Dr. Nwachuk~au, and
  it was canceled by the Dr. Nwachukwu her self., when I wanted ~.o
  see her- and ask her what was the reason she is putting me ~.ough
  this jai~h no help for this kind oz pain tha~ I am going tough,
  and it's been three months now that my arm bEcame frozen with
  unbearable pain.
  This is a record of all the times I v~~ent to medical with my left
   arm issue, or went out to see a specialist for my left shoulder
   that stands from 3/31 all i.he way to 8/2/17 and still no
   operation as they dragged this on with me in she ~~aorse pain that
   I have ever been in my hole li~e~ Z szar~ed to complain in 2016
   abou~. my lEfz shoulder but nothing was done a~ all, when I k~ent
   to my check ups every three months but, I don't think any one
   tiarote any theng down aboui~ m~T shoulder.           It seems if you._._,,._.,__
   don't put in a NR-007     and  pay  a co-pay  of $5.00   they refuse to
    keep a record   of  what you  yell  them, or  if  you  tell  them ~haz
   there is something     else wrong   with you  then  what  they   called you
   for They will tell you that       your not there  for   that,   your hear
   for chronic care not your shoulder,       these  are   some  of  the sick
    call dates that's on record from putting sick call I~iR007's in ~o
     Case 3:19-cv-21505-FLW-RLS05120/2019
                                  Document 6-3  Filed
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      see a doctor. 3/3l/17--4/3/17--4/17/17--5/5/17--5/10/17--5/11/17-
      - 5/15/17-- 5/17/1.7--5/22/17 a report and recommendations for a
       neurosurgical 5/26/17 more recommendations to neurosurgery also
      for pain management specialist evaluation.
       On 5/26/17 Nurse Lindsay Pettorinis comments about me coming to
       medical to try to get another shat of the Toradol within the ten
       days that Dr. Nwachukwu~said I could have every~l0 days. This is
       she real reason I was refused medical pain treatment for the .
       other shot.
       Nurse Pettorini stated that patient, came to clinic today
       requesting a torac~ol injection, once advised that die u~i~' ~ iave
       an order for same, he became argumentative, demanding to see a
       provider far left shoulder pain. Provider was advised of same
       and notified this writer ~o relay to patient that he can not
       receive said injection due to said effec~s of med. Patient vras
       also advised that his consult had been reviewed and elavil had
       been ordered Lar him fo?~ pain. Patient was also advised to leave
       the medical area by officer. Approximately~2-3 minutes later
        patient again returned to clinic, this time with an emergency
        pass stating "severe pain left shoulder and hips". Medical
        director was advised of patient presentation with same ongoing
        complaint. No ne~J orders were Given and patient was again
        advised.
        At this time he stated "ill just t~,~ri~e you up" and walked our. of
        medical. Lindsay Pet~orini RN May 26 2017 5:39PM
         I never complained about.my hip at the same ~,ime because the pain
         in my shoulder overruled any other pain in my hole body.
         I ~also was never told abou~ my kidneys and knew nothing a~.~all
         about my kidneys, till~.I heard Jackson talk about it and then I
         ordered my medical records and received them on August. 9, 2017.
         The statement Nurse PetLarini made on 5/26/17       I was in the dark
         the hole rime but what provider Jackson said that made me ga
         af~.er my medical records.
         I really fell that Dr. Ivwachuk~au, was trying to cover up the .fact
         that she gave me a shot of Toradol when she was not suppose to
          give me that shot, and even refused to~ see me or let any
          providers see me, Z also fee? that Dr. Nwachuk~au abandoned me at
          a time of a serious medical need to cover up her mistake and on
          top of it giving me other medications that I should had not been
          on because of my kidney disease, like mobic, Ibuprofen, and and
          other inflamma~.ory medications that will harm my kidneys.
          There were many medications that could had helped with that kind
          of insane pain, but refused to give me thzm to me because they
--    • ~ ar. e narcotics !                       _
          They also could had me acLmi~t~d ~.o the hospi~.al when I kept
          making complaint's~a~out my left shoulder and when i~. locked up
          that should had been a sing that something was really wrong with
          me, and send me out for an emergency opera ion, buy. they decide
          to drag there feet for sip months or even longer before they did
          any thing to help me.
Case 3:19-cv-21505-FLW-RLS Document 6-3  Filed 01/02/20 Page 13 of 25 PageID: 82
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    Even a~.ter the receiving the neu~olc~gy recoin~endations o~ what
    s~auld }~e done they still dragged there feed..
    Ater they received another new re~am~enda~ivn to have ~y lef~
    shoulder c~~aerate8 on then a upper black on my ~o~zr back and
    do soi~eti~ing to help with my necK inj~r~,
    g had ~.he shoulder oper~tian so~-~e dime ~.z Dec~r~~~r 2Q~ 7 thin
    the b1Qck on ray lawe~ back done, but hear it is all r~zost two
     yzars later and stir nothing his been dgne on my neck at all.
    I do believe that all ~.he foot dragging ~~ar that 2on~ caused
    ino~e harms to my lef~ sh~u~der bar nod taking care of it right
    fra~n the very star..
    Fram tie time before it 1Qckeci up sa:~e time around ~~arch ~2~"c7
    all the caay ti~.1 ~.hou~ I~ove~k~er ~ ar BQce~nber, 201 ? ~yhen they
    operated on ray sh~ul~er.
    Its only been months now that I just went dough another left
    shoulder ope~atio~., S do b~2ieve ghat all the foot dragging
     ~ r~ceiv~d aggra~rated the ~e~t shoulder so bad that i~ made
    even more inju~~ to the shoulder what I had ~o under ano~her
     sY€auld~r a~era~ian.
     ~~hat I don't get is they dragged there ~ee~ ~o dry to sage money
     anc~ spend even r~o~e money ~o save ~on~~r, they hack to day doubles
     fog all the ~aot wagging.
     I feel fi.ha~ Pettarini dad to da what fir. j~twachukwu, fold h~~
     t~ da car she wcauld had ~.Qs~ her jc~~ with the ~oetc~r ~ein~ o~rer
     her and the airec~or over medical.
     I am asking the court for a ~ ur~r trial i icy case any left ~~oulc~~~
     and all the pain and suffering ghat I have ~ee~ e~oing laugh
     with cruel. ar:d unus~a~. ~unish;~~nt and the denim. of medical
     ~~e~a~ment and the pair I went ~Quc~h ~a.~th t~v Q~e~atiQns, a~.c~r~g
     with ~rithhol.aing ~edi`aI infa~~a~ion a~c~ut ~y ~er~aZ Kidney
     Disease Stage-Three.


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Case 3:19-cv-21505-FLW-RLS
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         W~ER~FC~~E, Plaintiff Kenneth Pagliaroli demands judgment against

  D~fen~.ants Ne~v Jersey De~artrnent of Corrections, State of New Jersey,

  U~ive~sity Correctional Health Care, Rutgers, Dr, N~achukwu, Provider

  Jacks~~., provider boy Ga~narll7o, Nurse Fetterni, John and Jane Doe'(s),

  Terence Collier and Lindsay Pettorinis together t~ith interest and costs of suit.


                             I~3E~1~~~ND FC3R JURY TRIAL

         ~J.a~.nta.ff K~n~.eth Pabliaroli hereby demand'a jury trial on all counts a.nd

  ~s~ue~ of phis complaint, purs~an~ ~o Nevcj Jersey Court l~ules 1:8-2{b) and

  4:35-1(a).

                                 ~~LIEF REQUESTED


         ~~I~~RE~'C)R~, plaintiff requests that the Caurt grant the follo~uin~ r' elief:

         1. l~ declaratory judgment that the conduct outlined herein violated ~.he

   ~onstitut~onal rights of th.e Plaintiff Kenneth Pagliaroli;

         2. ~'he actions of De~endan~s Ne~~v Jersey Department of Corrections,

   Stag o~ Nzt~~ Jersey, University Correctional. Health Care, Rutgers, Dr.

   N~j~achu.l~ru, P~ovider Jackson, Pro~Tider Jo3T Camarllio, Nurse Pe~tterni, John

   ar~d Jane Doe's), Terence Collier and Lindsay Pettarinis in using fraudulent

   practices wit~.out need or provocation,.or in failing to intervene to prevent the

   misuse of po~~er, being deliberatel~T indifferent ~o the serious medical needs of

   ?laint~~f ~enn~th Pagli~.roli ~x~e~=e done mali~rously arld sadistica.liy-and

   constituted cruel and unusual punishment in violation of the Eighth

   .~l~en~.men~ oz the t..Tnited States Constitution;
Case 3:19-cv-21505-FLW-RLS  Document 6-3
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       3. '~he ~c~tions o~ Dependants Ne~~ Jersey Department of Corrections,

 St~.te of I!ew Jzrsey, University Correctional Health Care, Rutgers, Dr.

  N~~achu~uu, Prodder Jackson, Provider Joy Camarllio, Nurse Petterni, John

 and Jane Dae'(s), Terence Collier and Lindsay Pettorinis constitute deliberate

 indi~f~rence to the serious a.~d life threatening needs of Plaintiff Pagliaroli;

        4. plaintiff demands judgment against Defendants New Jersey

  D~,pa_rtar~enti of ~arrections, State of New Jersey, Universit3T Correctional Health

  ~a.re, Ringers, I~~r. Nwachukv,~u, Provider Jackson, ~'rovider Joy ~amarllio,

  Nutse Petierni, John and Jane Doe'(s), Terence Collzer and Lindsay Pettorinis

  ~n the amount of ~500,~00.00 for damages;

        5. 1-~.ppaint counsel ~o represent Plaintiff;

        6. Orden ~e~endants to pay Plaintiff compensatory and punitive damages

  in an amount io be det~r~~zined at trial;

        7. Enjoin defendants from further violating Plaintiff.

        8. Costs of ~~his act~an;

        9. Such fu~~~l~er relief as the court deems appropriate.

  L7ated: fibril ~, 2D ~$
                                                  Respectfully submitted,
                                                                     ,~="     c
                                                             J ~+   <f              j



                                              r      7~ ~                ~l~~~'~~ ~
                                                  Kenneth Pa~liaroli
                                                  #000391490AJ5~5277
                                                  New Jersey State Prison
                                                  P. O.Boy:861
                                                  Trenton, New Jersey 08625
Case 3:19-cv-21505-FLW-RLS
          MER L 000983-19
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  ~'o (~. ~Sa~ 861
  T~°e~t~~y 1~T~vc~ J~~°~~y OS62~



                      ~~R~`II~IC.A.'~`ION tJF NQ► OTHER AC'T~Q~IS

          ~ certify that. the dispute about ~~Thich I am suing. is not the subject of any
  other ac~~ion pendi~.~ in any other court or a pending arbitration proceeding to
  the best of any kna~ledge and belief. Also, to the best of my knowledge and
  belief no other ac~.ion or arbitration proceeding is contemplated. Further, other
  ~?az~. she parties ~~t forth in this complaint,Iknow of no other parfiies that
  should. die made ~. part of this lawsuit. In addition, I recognize my continuing
  o~alzgatio~.. to file and serve oi~. alI pal-ties and the court an amended certification
  ~f there is a ch~~~g~ in tlZe facts stated in this original cer~ti.f;cation. ,, ~ ,
                                                                                      ,~


                                                 #Oa4391490A/5~52'77
                                                 hTe~v Jerse3T State Prison
                                                 P. ~= Box 861
                                                 Trenton, Ne~~ Jersey Q8625
  Case 3:19-cv-21505-FLW-RLS Document 6-3 Filed 01/02/20 Page 17 of 25 PageID: 86




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                                   CIVIL. CASE INFaR(V'fATI+QN ~►TATEi~r'fE~T                                                          PAYMENi"Tl`r~E:
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 W Quo a~~                                      Use far inifia! Lave Division                                                          ar~our,r
a~. ~~~ ~~~                        Civil Park pleadings (not mo~iQns) under Rule 4:5-7
`~g1~as*~~s~o~'               F~Ieading wiR( b~ rejeC~ed sor fiiir~g, under Rule 1:~~6(G},                                             o~~R~~,Y~~r~~~r:
  ~'°'~°'~                      if information above the E~lack bar is not completed
                                          or attorney's signature is nofi affixed                                                      aATCH r~urr~~a.

1. ATTORNEY!PROSE N~,WiE                                                          Z.tELEPH0~4E 1~UPJ~BER                  3. COUNTY OF VENUE
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4. ~IR{Ji ~lAt~lE (if applicable)                                ~                                                       5. DOCKET NUP,~BER (when available)


6.aFFfG~AQDF.ESS               A            ;~ ~r        ,, ~            ~'~ _                   4,~~~"Z,-~              7.DOGUt~Gl~~1"IYPE
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                                                                                                                         8. JURY DEt~~AND rte:; YEs                  ❑ Np

9. t1At~iE OF PARTY (e.g., John Doe, Plait~tiiT~                         i0. GF,P~i"I(~id
                                                                                                                    `r~..~,f.. {       *~f       5~. ~ t~.: j,      t= 1`•x•5




 1 1, CASE TYPE h~!UI~iBER           12, t-{URRICANE
(5eu reverse side far fisting}       SANDY R~IAi   ~Q?                   13. IS THIS h P~OFE~SIC?NAL.~tirir',LPRAC`flCE GCSE?                            ❑YES          ~: ~0
                                     ❑ YES       D N~                    l~ YOU }-{AVE GK~CK~D "YES," SEE f~~.J.S_A. 2A.:53~ -2~ AND F:PPLICABLE CRSE LAVd
                                                                         REG~,RDING YOUR OBI~.1GATfOtd TQ FIDE ~,N ~F~lD~1nT OF fJ~ERlT.
 14. RELATED CASES PEt~C31NG?                                            15. iF YES,~.15`~ t~C?CKET I~UI~JiSERS
           ❑ Y~~                     r
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  16. DO YQU ~,tdT1CIPATE ~;QDING ANY PARTIES                            17. NAfJ~E C3F DEFEt~?Dl~ht~f'S PP.il~F,RY 1I~;SUR~,NC~ COPGr~Pf;NY (~f knov,~n)
 {arising out of same transaction or occurrence)?                                                                                                                     ❑ ~lot~~
           ❑ YcS                     ~ ISO                                                                                                                           {] UNKNOYti~i~




 CASE GHARAGTER(STiCS F41~ PURPOSES Or" DE~ERf~~fNlNG IF G~S~ IS APPROPRIAiE FOR tJEDiATIt~fJ
 7 8. DO PARTIES HAVE A GURR~NT,PASTOR     (F YES,IS THAT R~1.ATi~NSHIP:
 R~C~~~~~~i'I ~~~.T10~~{S~~f~~                                       ❑ EIJ~PLOYEr2jE(JiPI.QYEc                ❑ ~Ri~VDl~ti~1GH80R                     ❑ QTN~R {BXpjc~lll)
           ❑ Y=s                         Q No                        ❑ F~t,r<<ukt                             ❑ Busir~~ss

 19. f~~~S THE STATUTE GOVERNING THlS CASE PROVIDE FOR PAYttitEt~T C}F SEES BY Tf'HE Lt7SiNG PtiRfiY?                                                 ❑YES             ❑ No
 20. USA TMlS SPACE TO ALERT THE CQURi`TC} ANY Sr~Cl~L CASE CFi~^,RACTERISTICS 3Hf~T tJiAY Vd~,2R~,?~fT it~DIV1Dl3F~L iJ,~.NAGE~JiENT
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            29. L70 YOU QR YOUR CL~E{vri' NEED Atv`Y DIS.~,3ILITYAGC~tJI1~~~0~fi7fOh~? "I~~l'ES, Pt:EhS~ fD~;~~'i"!~l`"i'H~,R~QUEST~D-ACGOAfh~0i3A31~t1 ~ ~                            .~
  ,~,,,,~, ❑Yes                          p No ,
            22. VdlLL Atd !t3i~RP~C~ ~ 3~ Nc~cD?                                                 I"r YES, FOR 1'trrihT l...~,A~GUAG~?
            Q Yes                        ❑ Na

  23. I certify that confidential personal identifiers have been redacted from documents naw suk~cnitt~d fio the court, and wifl
  be redacted from ati dacumenfis submitted in the fufiure in accordance with Rule 1:38-7(b).

  24. f;'TTOt2t~cY SIGi~lf,TUR~:



Erective 9 0/01/2016, Ct~! 10517~s                                                                                                                                              page ~ of 5
Case 3:19-cv-21505-FLW-RLS Document 6-3 Filed 01/02/20 Page 18 of 25 PageID: 87




                         Exhibit B
Case 3:19-cv-21505-FLW-RLS Document 6-3 Filed 01/02/20 Page 19 of 25 PageID: 88




     Positive
As of: December 9, 2019 6:34 PM Z

                                                ~1C~1~1'CIO V. ~?~lCkl

                                    U nited States Court of Appeals for the Third Circuit
              July 10, 2012, Submitted Under Third Circuit LAR 34.1(a); July 17, 2012, Opinion Filed
                                                        No. 11-2380

Reporter
488 Fed. Appx. 634 *; 2012 U.S. App. LEXIS 14624 **; 2012 WL 2899359
                                                               Appellant inmate appealed from the judgment of the
                                                               U nited States District Court for the District of New
FRANCISCO DIDIANO, Appellant v. KAREN BALICKI;                 Jersey, which granted summary judgment in favor of the
SOUTH WOODS STATE PRISON; JOHN DOES)1-                         defendant prison and prison administrator on the
10;JOHN DOES)11-20                                             inmate's civil rights claims.



Notice: NOT PRECEDENTIAL OPINION UNDER
THIRD     CIRCUIT   INTERNAL   OPERATING
PROCEDURE RULE 5.7. SUCH OPINIONS ARE NOT                       Overview
REGARDED AS PRECEDENTS WHICH BIND THE
COURT.                                                     In the face of binding U.S. Supreme Court authority, the
                                                           inmate did not dispute that his 42 U.S.C.S. ,~ ~~3f3.3
PLEASE REFER TO FEDERAL RULES OF
                                                           claims against the prison and the prison administrator in
APPELLATE PROCEDURE RULE 32.1 GOVERNING
                                                           her official capacity failed because they were not
THE CITATION TO UNPUBLISHED OPINIONS.
                                                           "persons" within the meaning of ~2 U.S.C.S. ~ 1 33.
                                                           Alsc, given the explicit statutory definition ~f "person"
Prior History: [**1] APPEAL FROM THE UNITED
                                                           contained    in I.J. a~~t. Ar~r~.       1:~-2, which did not
STATES DISTRICT COURT FOR THE DISTRICT OF
                                                           i nclude the     State   or   defendants    which were the
NEW JERSEY. (D.C. Civil No. 1-10-cv-04483). District
                                                           functional equivalent of the State,         the district court
Judge: Honorable Robert B. Kugler.
                                                           correctly granted summary judgment on inmate's New
                                                           Jersey Civil Rights Act claims against the prison and the
                                                            prison official in her official capacity. Any 42 U.S.C.S~
Didiano v. Balicki, 201 ~ U.S. Dist. LEXIS 4978~ (CJ.N.J.,
                                                            1933 claim the inmate had against the prison official in
fir. 18, 20 31
                                                            her individual capacity was barred by the Prison
                                                            Litigation Reform Act for failure to exhaust
                                                           administrative remedies; the fact that the inmate got bad
                                                           advice from a fellow prisoner was unfortunate, but it did
Core Terms                                                  not excuse his failure to exhaust the administrative
                                                            remedies.
prison, administrative remedy, district court, official
capacity, prison official, exhaust, Inmate, rights,
psychologist, summary judgment, complaints,
grievance, individual capacity, supplied

                                                                Outcome
                                                                The judgment of the district court was affirmed.
Case Summary

Procedural Posture
Case 3:19-cv-21505-FLW-RLS Document 6-3 Filed 01/02/20 Page 20 of 25 PageID: 89
                                                                                                         Page 2 of 7
                           488 Fed. Appx. 634, *634; 2012 U.S. App. LEXIS 14624, **1

                                                                 Civil Rights Law > Protection of Rights > Section
LexisNexisO Headnotes
                                                                 1983 Actions > Scope

                                                             HN5[~~'""] Protection of Rights, Section 1983 Actions

                                                             Neither a State nor its officials acting in their official
                                                             capacities are "persons" under 42 U.S.C.S. 1983. A
    Civil Procedure > Appeals > Standards of
                                                             political subdivision of the state is not a "person" within
    Review > De Novo Review
                                                             the meaning of 42 U.S.C.S. ~98~ if it is effectively an
                                                             "arm of the State" for Elevenfih Amendment purposes.
    Civil Procedure > Appeals > Summary Judgment
    Review > Standards of Review

HN?[."~~ Standards of Review, De Novo Review                     Civil Rights Law > Protection of Rights > Section
                                                                 1983 Actions > Scope
Appellate courts exercise plenary review over a district
court's grant of summary judgment, viewing all evidence      HN6['"~'] Protection of Rights, Section 1983 Actions
in favor of the non-moving party and resolving all doubts
in that party's favor. fed. R. Div. P. S6(a}.                See 42 U.S.C.S. ~ 7983.



    Civil Rights Law > Protection of Rights > Procedural         Civil Rights Law > Protection of Rights > Section
    Matters > General Overview                                   1983 Actions > Scope

    Civil Rights Law > Protection of Rights > Section        HN7'["~~ Protection of Rights, Section 1983 Actions
    1983 Actions > Scope
                                                             State officials sued in their individual capacities are
HN2['~] Protection of Rights, Procedural Matters             "persons" for purposes of 42 U.S.C.S, a 983.

Like 42 U.,S,G.S. 1983, the plain language of the New
Jersey Civil Rights Act imposes liability on any "person"
                                                                 Governments > Legislation > Interpretation
who violates a plaintiffs civil rights under color of law.
                                                             HN8[ ] Legislation, Interpretation

    Civil Rights Law > Protection of Rights > Procedural     See 111.J. Shat. Ar7n.   ~:9-2.
    Matters > General Overview

HN3[~'"] Protection of Rights, Procedural Matters
                                                                  Governments > Legislation > Interpretation
See N.J. Stat. Ann,   74.°6-2 c .
                                                             HN9["~] Legislation, Interpretation

                                                             IV.J. Stat. Ann.   1:1-2 explicitly states that the word
    Civil Rights Law > Protection of Rights > Section        "person" shall include the State of New Jersey only in
    1983 Actions > Scope                                     the limited circumstance of certain property disputes.
                                                             Thus, New Jersey has provided its own definition of the
HN4['~"] Protection of Rights, Section 1983 Actions          word "person," and that definition does not include the
                                                             State or defendants which are the functional equivalent
The States, arms of the States, and state officials acting   of the State.
in their official capacities, are not "persons" within the
meaning of 42 U.S.C.S. 193.

                                                                  Governments > Legislation > Interpretation
 Case 3:19-cv-21505-FLW-RLS Document 6-3 Filed 01/02/20 Page 21 of 25 PageID: 90
                                                                                                               Page 3 of 7
                            488 Fed. Appx. 634, *634; 2012 U.S. App. LEXIS 14624, **1

NN10[~'] Legislation, Interpretation                          Esq., James E. Moore, Esq., Barry, Corrado, Grassi &
                                                              Gibson, Wildwood, NJ.
The New Jersey statutes explicitly exclude the State
from the definition of a "person" under ,'~J.J. Stet. ~r~n.
                                                              For KAREN BALICKI, SOUTH WOODS STATE
1:1-~.
                                                              PRISON, Defendant -Appellees: Christine H. Kim, Esq.,
                                                              Office of Attorney General of New Jersey, Trenton, NJ;
                                                              Daniel M. Vannella, Esq., Office of Attorney General of
    Civil Rights Law > ... > Prisoner Rights > Prison         New Jersey, Division of Law, Trenton, NJ.
    Litigation Reform Act > Exhaustion of Administrative
    Remedies

~~'y~~(~~ Pricnn I itinati~n Reform Act; Exhaustion           ~.~.J.,..+~-• R~C~~~IGI
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                                                                                                                   .,., (~irr~i it

of Administrative Remedies                                    Judges.

See 42 U.~.C.S.     1~97~ ~ .

                                                              Opini~iue by: BARRY
    Civil Rights Law > ... > Prisoner Rights > Prison
    Litigation Reform Act > Exhaustion of Administrative
    Remedies
                                                              Opinion
~-~  [ ] Prison Litigation Reform Act, Exhaustion
of Administrative Remedies

Under 42 U.S.G.S.          ~997e ~, the prisoner must         [*635] BARRY, Circuit Judge
pursue all available administrative remedies to their end,    Appellant Francisco Didiano ("Didiano") appeals the
and must do so properly, i.e., without procedural default.    District Court's grant of summary judgment in favor of
This is true regardless of whether the administrative
                                                              the South Woods State Prison and Karen Balicki, the
remedies meet federal standards, whether they are             prison administrator. We will affirm.
plain, speedy, and effective, and whether the prisoner
seeks relief not available in grievance proceedings,
notably money damages.

                                                               In December 2008, Didiano was an inmate at South
    Civil Rights Law > ... > Prisoner Rights > Prison          Woods State Prison in Bridgetown, New Jersey. He had
    Litigation Reform Act > Exhaustion of Administrative      three cellmates, including a man named Duan Howard
    Remedies                                                  ("Howard'°), a prisoner classified as having "mental
                                                               health special needs." On December 19, 2008, Howard
HN~f3[ ] Prison Litigation Reform Act, Exhaustion              used aprison-issued "hot pot" to boil water in the cell.
of Administrative Remedies                                     Under normal circumstances, the prison-issued hot pots
                                                               [**2] are not supposed to be able to bring water to a
"Prison paralegals" are not prison officials, but rather       boil, but Howard had altered his device to increase its
are fellow inmates who provide advice and counsel. The         power. Howard then used the boiling water to attack
fact that an inmate got bad advice from a fellow prisoner      Didiano, pouring it all over Didiano's face, head, neck,
is unfortunate, but it does not excuse his failure to          shoulders and back while he was asleep in the cell. As a
exhaust the administrative remedies.                           result, Didiano sustained serious and permanent injuries
                                                               and was taken to an outside hospital to receive
                                                               treatment for his burns. Following his discharge from the
                                                               [*636] hospital, he was transferred to the medical wing
                                                               of Northern State Prison to convalesce. On January 29,
Counsel: For FRANCISCO DIDIANO, Plaintiff                     2009, about a month after the assault, Didiano was
Appellant: Frank L. Corrado, Esq., Joseph C. Grassi,           transferred back to South Woods State Prison.
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In April 2009, Didiano used the help of a so-called contacted him to set up a meeting.
"prison paralegal" named Nash to file three official
administrative complaints, called Inmate Remedy On July 30, 2010, Didiano filed suit in New Jersey state
Forms, with the prison. The record is bereft of court against the South Woods State Prison and the
i nformation about Nash, and there is no evidence that prison administrator, Karen Balicki ("Balicki"). Didiano
 he was a prison official or employee. Didiano claims that named Balicki as a defendant in both her individual and
 he depended upon the services of Nash in using the official capacities. The complaint also listed numerous
 Inmate Remedy System because he has "limited facility "John Doe" individuals as defendants. Didiano asserted
with the English language and with writing in particular." claims under 42 CI,,S.0            1983 for violation of [**5] his
 Nash filled out the three       administrative  complaints,   F
                                                               _i~hti7   Arnendm~nf     rights,   alleging that defendants
alleging: (1) that the prison had "been    [**3] negligent in failed  to  protect him from   Howard's    unprovoked assault
administering medical care and treatment" to Didiano;          by   allowing    an  inmate     "with   known    psychological
(2) that Howard's assault on Didiano was due to the            problems    to  remain  in  the   general  prison   population"
 prison's "failure to properly inspect and adhere to safety    and  to possess    a "hot  pot that  was  easily  modifiable to
standards"; and (3) that, because Howard was a become a dangerous instrumentality."                         He  also asserted
"special needs" inmate, the prison should not have a claim under the New Jersey Civil Rights Act
 housed him in the general population.                        ("NJCRA"), lV.~,l.~`.~, 1(7.6-2, for violations of the New
                                                               Jersey state constitution under these same theories.
 Sometime later, prison officials responded with a
"Corrective Action Form," which identified several [*637] Defendants removed the case to federal court.
 deficiencies with the complaints. In particular, the Following removal, they filed a motion to dismiss or, in
 Corrective Action Form stated: (1) that Didiano must the alternative, for summary judgment, raising several
 complete a Health Services Request Form; (2) that his grounds in support of their motion, including: (1) that
 complaints did not contain specific information, and he Didiano's claims were barred by the Elever~~~
 m ust resubmit the complaint with additional information; A menc~rr~enf and the doctrine of sovereign immunity; (2)
 and (3) that he cannot use the Inmate Remedy System that Didiano's claims were barred by the Prison
 forms for Department of Corrections disciplinary Litigation Reform Act, because he had failed to exhaust
 charges. In addition, the Corrective Action Form his administrative remedies before bringing suit; (3) that
 contained a handwritten note that instructed Didiano to the prison and defendant Balicki, in her official capacity,
"speak with housing unit Sat. clarify dates." ~                are not "persons" amenable to suit under either § 183
                                                               or the NJCRA; and (4) that there were no grounds for
 When Didiano received the Corrective Action Form, he holding Balicki liable in her individual capacity. Didiano
  went to Nash and asked what he should do in response. opposed the motion.
  Nash told Didiano that someone from the prison wanted
 to meet with him and that Didiano should wait for the Because [**6] the parties submitted evidence outside
  meeting to be scheduled. Didiano followed Nash's the pleadings, the District Court treated defendants'
 advice and did not take any action.                           motion as one for summary judgment and granted the
                                                               motion. The Court rejected deTendants' argument that
  In late May or early June 2009, Didiano met with a the suit was barred by sovereign immunity, but agreed
  prison psychologist. During the course of their that Didiano had failed to exhaust his administrative
  conversation, Didiano told the psychologist about the remedies, that defendants were not "persons" within the
  complaints he had submitted, as well as the Corrective meaning of 1983 and the NJCRA, and that there was
  Action Form he had received in response. He asked the no basis for a claim against Balicki in her individual
  psychologist to follow-up on the complaints and see if a capacity. Finally, the Court concluded that the claims
  meeting with the prison officials would be scheduled. against the John Doe individuals could not survive in
  According to Didiano, however, the psychologist did not light of the dismissal of the named defendants. Didiano
  follow-up as requested. No one from the prison ever timely appealed.


 ~ The handwriting is difficult to read, and defendants claim that
 the note actually states: "speak with housing unit Sgt. clarify
 dates." Although defendants' reading seems more plausible,          The District Court had jurisdiction over this case
 we accept Didiano's reading for purposes of analyzing the
                                                                     pursuant to 28 U.S.C.?~?33~t and 1367. We have
 grant of summary [**4]judgment.
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jurisdiction pursuant to 28 U.S.C~~„~29~ and HN1[~]              officials acting in their official [**8] capacities are
exercise plenary review over a district court's grant of         'persons' under          '1983"); lndep, Enters. lnc. v,
summary judgment, viewing all evidence in favor of the           Pittsbur h Water & Sewer Auth. 103 F.3d 7965 3d Cir.
non-moving party and resolving all doubts in that party's         7997 (a political subdivision of the state is not a
favor. Albright v. Virtue, 273 F.3d 564, 570 (3d Cir:            "person" within the meaning of,~ if it is effectively
2U09 ; S.E.C. v. Hughes Capital Corp., 924 F.3d 449,              an "arm of the State" for Eleventh Amendrrr~nt
452(3d Cir. 19971.; Fed. R. eiv. P. 56(a).                        purposes). 3 Didiano concedes that his suit against the
                                                                  prison is essentially a claim against the Department of
                                                                  Corrections, an arm of the State of New Jersey. He also
A                                                                 concedes that Balicki is a state official that he has sued
                                                                  in her official capacity. Thus, in the face of this binding
Didiano argues that the District Court erred in                   Supreme Court authority, he does not dispute that his ~
concluding that his claims against [**7] the prison and           19&3 claims against the prison and Balicki (in her official
Balicki (in her official capacity) must be dismissed              capacity) must fail. Rather, he contends that the District
because they are not "persons" within the meaning of              Court erred in dismissing his state-law NJCRA claim on
the HN2[~ NJCRA. Like ~ 1983, the plain language of               this ground, arguing that there are good reasons why
the NJCRA imposes liability on any "person" who                   the word "person" should be interpreted differently in the
violates a plaintiff's civil rights under color of law. In        NJCRA context than in X983, and should be construed
particular, the NJCRA provides in relevant part that:             to extend to defendants here. We disagree.

    NN3[~"`] Any person who has been deprived of any Although the NJCRA does not itself define the word
    .. . rights . ..secured by the Constitution or laws of "person," the term is defined elsewhere in the New
    the United States, or . . . by the Constitution or laws Jersey code:
    of this State, or whose exercise or enjoyment of
    those substantive rights, privileges or immunities          HN8[~1`] Unless it be otherwise expressly provided
    has been interfered with or attempted to be                 or there is something in the subject or context
    interfered with, by threats, intimidation or coercion       repugnant to such construction, the following words
    by a person acting under color of law, may bring a          and phrases, when used in any statute and in the
    civil action for damages and for injunctive or other        Revised Statutes, shall have the meaning herein
    appropriate relief.                                         given to them.

N.J.S.A. ~ 10:6-2(c,~ (emphasis supplied).
                                                                      Person. The word "person" includes corporations,
                                                                      companies,       associations,  societies,    firms,
I nterpreting the comparable language of ~ 1983, 2 the
Supreme Court has held that [*638] NN4[~] the                         partnerships and joint stock companies as well as
                                                                      individuals     .and, when used to designate the
States, arms of the States, and state officials acting in
their official capacities, are not "persons" within the               owner of property which may be the subject of an
                                                                      offense, includes this State, the            United
meaning of the statute. Will v. Mich. Dept of Stake
Pralice 491 U,S. 58 71 1 p9 S. Ct. 2304 7 D5 L. Ed, 2d                [**10] States, any other State of the United States
45 1989 ("We hold that HNS[~] neither a State nor its                 as defined infra and any foreign country or
                                                                      government lawfully owning or possessing property
                                                                      within this State.
z The language of the federal civil rights statute provides:
                                                                  N,J.S,A.   1:92 (emphasis supplied). In other words,
     HN6 ~`J Every person who, under color of any statute,        HN9["~] the statutory definition explicitly states that the
     ordinance, regulation, custom, or usage, of any State or     word "person" shall include the State of New Jersey
     Territory or the District of Columbia, [**9] subjects, or    only in the limited circumstance of certain property
     causes to be subjected, any citizen of the United States
                                                                  disputes not applicable here. Thus, New Jersey has
     or other person within the jurisdiction thereof to the
     deprivation of any rights, privileges, or immunities
     secured by the Constitution and laws, shall be liable to
     the party injured in an action at law, suit in equity, or    3 Cf. Nafer v, Mefo 502 U.S. 21 23 712 S. Ct. 358. 1 ?6 L, Ed.
     other proper proceeding for redress . . . .                  2d 309 0999)("We . . .hold that HN7[~``] state officials sued
                                                                  in their individual capacities are 'persons' for purposes of ~
 42 C1.S.G. § 1983(emphasis supplied).                            1983.")(emphasis supplied).
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provided its own definition of the word "person," and that         exhaust administrative remedies. We agree.
definition does not include the State or defendants
which are the functional equivalent of the State.                  With respect to the exhaustion requirement, the PLRA
                                                                   provides that:
Didiano is left to argue only that a construction that
                                                                            HN~1[~i~] No action shall be brought with respect to
excludes the State from the definition of the word
                                                                            prison conditions under s~efiorr 1933 of this title, or
"person" is repugnant to the subject and context of the
                                                                            any other Federal law, by a prisoner confined in any
NJCRA. Once again, we disagree. Nothing in the
                                                                           jail, prison, or other correctional facility until such
language or subject matter of the NJCRA compels that
                                                                            administrative remedies as are available are
conclusion. 4 Instead, Didiano relies on cases and
                                                                            exhausted.
statements from outside the context of the [*639]
NJCRA, including: (1) general statements of law
                                                                      42 C9,S,C. 1997 ~ N~1112['~'`; ~InrlPr this rP~iiirPmPnt
suggesting that "New Jersey has a long and powerful
                                                                      the prisoner must pursue all available administrative
tradition of enforcing state constitutional rights"; and (2)
                                                                      remedies to their end, and must do so properly, i.e.,
arguments that constitutional claims are not barred by
                                                                      without procedural default. See S~,r~ril! v. Gillrs. 37~ F.3cf
the State's sovereign immunity or the New Jersey
                                                                      2~8 3d Cii'. 200~~. This is true regardless of whether
[**11] Tort Claims Act. (See Appellant's Br. at 13-16).
                                                                      the administrative remedies meet federal standards,
Such abstract evidence, however, is insufficient to
                                                                      whether they are "plain, speedy, and effective,"
overcome the explicit statutory definition of "person"
                                                                      [**13] and whether the prisoner seeks relief not
contained in         7:1-2. Accordingly, the District Court
                                                                      available in grievance proceedings, notably money
correctly granted summary judgment on Didiano's
                                                                      damages. /c~. ~~ X27 (quoting Porf~r v. l~lussle. 534 U.S.
claims against the State and Balicki, in her official
                                                                     ' ~ 96 524 ~ 22 S. Ct. X83. 752 L. ,~d. 2d ~2 20 2 .
capacity. 5
                                                                      Didiano "concedes that the PLRA applies to him and
                                                                      that he did not complete South Wood's grievance
 B.                                                                   process" because he did not respond to the Corrective
                                                                      Action Form. (Appellant's Br. at 25-26). He argues,
 Even if Didiano has no viable claim against the prison however, that the exhaustion requirement does not
 and Balicki, in her official capacity, he argues that he apply where "Nri~on officials' ~~nduct s~ interferes with
 nonetheless has a         9933 claim against Balicki in her a prisoner's ability to use the grievance process that the
 i ndividual capacity. The District Court concluded that he remedy is not 'available."' (Id. at 25). In support of this
 did not because any such ~9~.~ claim was barred by argument, he relies on ~rc~wr7 v. Croak, 312 f=~.3d 9(7~
 the Prison Litigation Reform Act ("PLRA") for failure to (3d Gir. 2C~C1?_). In Brown, the district court dismissed a
                                                                       prisoner's lawsuit for failure to exhaust his administrative
                                                                       remedies because he did not file a formal grievance with
 4 lndeed, contrary to Didiano's argument, the text of the the prison. On appeal, we vacated the dismissal on the
 NJCRA actually seems to support the conclusion that the ground that the prisoner raised a genuine issue of
 State is not a "person" subject to suit. Under the statute, one material fact as to whether prison officials essentially
 of the remedies for violating a plaintiff's constitutional rights is thwarted or prevented him from exhausting the
 the imposition of a civil penalty. N.,1.S.A.      ~0:~-~ c (citing remedies. The prisoner had alleged that prison officials
 subs~ctic~ra 10:6-2(c)). The statute directs, however, that this told him he could not file a formal grievance until the
"civil penalty shall be conveyed to the State Treasurer for prison's "pre-grievance                    investigation" had been
 deposit into the State General Fund." S.A.   N.J.         9~?.~~-2
                                                                      completed. [**14] He waited for months, but was never
(emphasis supplied). If the State were found liable in an
                                                                       told that the investigation was concluded. Accepting his
  NJCRA action, therefore, it would create the bizarre result of
                                                                       allegations as true, we held that the administrative
 the State paying a civil penalty to itself. This suggests that the
  legislature did not contemplate State liability under the remedies were not "available" to the prisoner within the
  NJCRA.                                                               meaning of the PLRA and the district court improperly
                                                                       dismissed his claim.
                                     .~.
 5 Because we conclude that HN90[1`] the New Jersey statutes
 explicitly exclude the State from the definition of a "person"     Didiano's reliance on Brown is misplaced. The thrust of
 under       ~1:9-2, we need [**12] not address the parties'        E3rawn is that the prisoner's use of the administrative
 arguments about whether, and to what extent, the NJCRA             remedies was frustrated by the prison officials. [*640]
 should be interpreted identically to 1933.
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There is simply no comparable evidence in this case.
Rather, Didiano admits that the prison properly sent him
a Corrective Action Form explaining the actions needed
to proceed with his complaints. Because he wanted
assistance with the Corrective Action Form, he went to a
"prison paralegal" named Nash. According to Didiano, it
was Nash who told him to take no action and simply
wait for the prison to set up a meeting. If there was
evidence that Nash was a prison official, this case would
fall squarely within Brown. Defendants contend,
however, that HN13['~i~] "prison paralegals" are not
prison officials, but rather are fellow inmates who
provide advice and counsel, and there is nothing in the
record (or even in Didiano's brief) to contradict that. The
fact that Didiano [**15] got bad advice from a fellow
prisoner is unfortunate, but it does not excuse his failure
to exhaust the administrative remedies.

Didiano is left to argue that he told a prison psychologist
that he was expecting a meeting with the prison and
asked him to "follow-up" to see if a meeting would be
scheduled. Even assuming the psychologist is a prison
official, we are nonetheless unpersuaded. According to
defendants, prison psychologists do not have any
authority related to the Inmate Remedy System. The
grievance system is instead handled by the social
workers, housing unit officers, and the Inmate Remedy
Coordinator. Once again, there is nothing in either the
record or Didiano's brief to refute this. In any event, the
fact that the psychologist did not follow-up on Didiano's
i nquiry regarding a meeting is not the kind of active
"thwarting" of the grievance system that was present in
~r~a!~r~—especially in light of the fact that the Corrective
Action Form specifically told Didiano what he needed to
do to proceed. 6 Accordingly, the District Court did not
err in granting summary judgment on Didiano's § 1983
claim against Balicki in her individual capacity.




For the foregoing reasons, we will affirm the order of the
District Court.


   L;~iKt f~i`1~)ocui~ienl:




6 Although Didiano asserts he has difficulty [**16] with the
English language, he did not at any time seek assistance from
prison staff in understanding the Corrective Action Form.
